EXHIBIT A

Case 09-01136 Doci-1 Filed 12/11/09 Entered 12/11/09 15:51:09 Desc Exhibit A
Part1 Page 1 of 20
“ELECTRONICALLY FILED:

State of Alabama

Unified Judicial System COVER SHEET _ _ . a
CIRCUIT COURT - CIVIL CASE 27-CV-200 CIRCUIT COURT OF

Form ARCiv-93 Rev.5/99 (Not For Domestic Relations Cases)

Case Number: 5/13/2009 8:21 PM

CV-2009-900077.00

Date of Filing: ~~ DALLAS COUNTY, ALABAMA
05/13/2009 CHERYL STRONG RATCLIFF, CLERK

GENERAL INFORMATION

IN THE CIRCUIT OF DALLAS COUNTY, ALABAMA
CHARLES BATES ET AL v. HARBERT DP, LLC ET AL

First Plaintiff: [_]Business Individual First Defendant: |v]Business [_JIndividual

[_]Government [_] Other

[ ]Government [_|Other

NATURE OF SUIT:

TORTS: PERSONAL INJURY

[_]|WDEA - Wrongful Death

[_}TONG - Negligence: General

| |TOMV - Negligence: Motor Vehicle
[_}TOWA - Wantonnes

[_]TOPL - Product Liability/AEMLD

[|TOMM - Malpractice-Medical

[_]TOLM - Malpractice-Legal

[_]TOOM - Malpractice-Other

[_]TBFM - Fraud/Bad Faith/Misrepresentation
[_]TOXxX - Other:

OTHER GIVIL FILINGS (cont'd)

[_]MSxXx - Birth/Death Certificate Modification/Bond Forfeiture
Appeal/Enforcement of Agency Subpoena/Petition to
Preserve

[_]CVRT - Civil Rights

[_]COND - Condemnation/Eminent Domain/Right-of-Way

[-]CTMP-Contempt of Court

[ ]CONT-Contract/Ejectment/Writ of Seizure

[_]TOCN - Conversion

[_]JEQND- Equity Non-Damages Actions/Declaratory
Judgment/Injunction Election Contest/Quiet Title/Sale For
Division

TORTS: PERSONAL INJURY

TOPE - Personal Property
DRE - Real Property

OTHER CIVIL FILINGS

[_]ABAN - Abandoned Automobile

[| ]ACCT - Account & Nonmortgage
[_]APAA - Administrative Agency Appeal
[_]ADPA - Administrative Procedure Act

[_]ANPS - Adults in Need of Protective Services

[ |CVUD-Eviction Appeal/Unlawfyu! Detainer

| ]FORJ-Foreign Judgment

[_]FORF-Fruits of Crime Forfeiture

[| ]MSHC-Habeas Corpus/Extraordinary Writ/Mandamus/Prohibition
[_]PFAB-Protection From Abuse

[_]FELA-Railroad/Seaman (FELA)

[_]RPRO-Real Property

[ ]WTEG-Will/Trust/Estate/Guardianship/Conservatorship

[_ ]COMP-Workers' Compensation

[¥] CVXX-Miscellaneous Circuit Civil Case

ORIGIN: F[V¥] INITIAL FILING

R[_] REMANDED

A[_] APPEAL FROM OL] OTHER
DISTRICT COURT

T[] TRANSFERRED FROM
OTHER CIRCUIT COURT

HAS JURY TRIAL BEEN DEMANDED? [ViYes [|No

RELIEF REQUESTED: MONETARY AWARD REQUESTED [ |NO MONETARY AWARD REQUESTED
ATTORNEY CODE: . MUR0Q39 5/13/2009 8:16:55 PM /s BRANDY MURPHY LEE
MEDIATION REQUESTED: []Yes |[V]No_ [_]Undecided

Case 09-01136 Doc 1-1

Filed 12/11/09 Entered 12/11/09 15:51:09 Desc Exhibit A
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State of Alabama SUMMONS Case Number:
Unified Judicial System - CIVIL - 27-CV-2009-900077.00

Form C-34 Rev 6/88

IN THE CIVIL COURT OF DALLAS, ALABAMA
CHARLES BATES ET AL v. HARBERT DP, LLC ET AL

HARBERT DP, LLC, 150 SOUTH PERRY STREET, MONTGOMERY AL, 36104
NOTICE TO

THE COMPLAINT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT AND YOU MUST TAKE IMMEDIATEACTION
TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE ORIGINAL OF YOUR WRITTEN
ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT WITH THE CLERK OF THIS
COURT. A COPY OF YOUR ANSWER MUST BE MAILED OR HAND DELIVERED BY YOU OR YOUR ATTORNEY TO THE
OPPOSING PARTY'S ATTORNEY BRANDY MURPHY LEE

WHOSE ADDRESS IS 2100-A SOUTHBRIDGE PARKWAY, SUITE 450, BIRMINGHAM AL, 35209

THE ANSWER MUST BE MAILED WITHIN 30 DAYS AFTER THIS SUMMONS AND COMPLAINT WERE DELIVERED TO
YOU OR A JUDGMENT BY DEFAULT MAY BE ENTERED AGAINST YOU FOR THE MONEY OR OTHER THINGS
DEMANDED IN THE COMPLAINT.

TO ANY SHERIFF OR ANY PERSONNEL AUTHORIZED by the Alabama Rules of the Civil Procedure:

[_]You are hereby commanded to serve this summons and a copy of the complaint in this action upon the defendant

Service by certified mail of this summons is initiated upon the written request of CHARLES BATES
pursuant to the Alabama Rules of the Civil Procedure

5/13/2009 8:21:29 PM ls CHERYL STRONG RATCLIFF
Date Clerk/Register By

/s BRANDY MURPHY LEE
Plaintiffs/Attorney's Signature

| Certified mail is hereby requested

RETURN ON SERVICE:

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IN THE CIVIL COURT OF DALLAS, ALABAMA
CHARLES BATES ET AL v. HARBERT DP, LLC ET AL

HARBERT POWER, LLC, 150 SOUTH PERRY STREET, MONTGOMERY AL, 36104
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IN THE CIVIL COURT OF DALLAS, ALABAMA
CHARLES BATES ET AL v. HARBERT DP, LLC ET AL

DIXIE PELLETS, LLC, 150 SOUTH PERRY STREET, MONTGOMERY AL, 36104
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IN THE CIVIL COURT OF DALLAS, ALABAMA
CHARLES BATES ET AL v. HARBERT DP, LLC ET AL

HARBERT POWER FUND Ill, LLC, 150 SOUTH PERRY STREET, MONTGOMERY AL, 36104
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Form C-34 Rev 6/88

IN THE CIVIL COURT OF DALLAS, ALABAMA
CHARLES BATES ET AL v. HARBERT DP, LLC ET AL

HARBERT MANAGEMENT CORPORATION, C/O WILLIAM W. BROOKE ONE RIVERCHASE PARKWAY SO, BIRMINGHAM, AL, 35244
NOTICE TO

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IN THE CIVIL COURT OF DALLAS, ALABAMA
CHARLES BATES ET AL v. HARBERT DP, LLC ET AL

WAYNE NELSON, 2100 THIRD AVENUE NORTH SUITE 600, BIRMINGHAM, AL, 35203
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Form C-34 Rev 6/88

IN THE CIVIL COURT OF DALLAS, ALABAMA
CHARLES BATES ET AL v. HARBERT DP, LLC ET AL

PATRICK MOLONY, 2100 THIRD AVENUE NORTH SUITE 600, BIRMINGHAM, AL, 35203
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IN THE CIVIL COURT OF DALLAS, ALABAMA
CHARLES BATES ET AL v. HARBERT DP, LLC ET AL

RUSSELL MARTIN, ONE RIVERSHASE PKWY SOUTH, BIRMINGHAM, AL, 35244
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CV-2009-900077.00
CIRCUIT COURT OF
:, DALLAS. COUNTY, ALABAMA Bs
CHERYL STRONG RATCLIFF, CLERK”

IN THE CIRCUIT COURT OF DALLAS COUNTY, ALABAMA

Dr. Charles Bates, Joyce Duck, )
Belinda B. Early, Kenneth G. Elzinga, )
Fernand Baruch, Jr. IRA by and through its custodian )
Entrust MidAtlantic, LLC; Brigitte Schmidt-Ullrich, IRS )
By and through its custodian Entrust MidAtlantic, LLC; )
Jean Freitag, The C. Garland Hagen Rev Trust by __)
and through its trustee C. Garland Hagen, )
GTC Partners, LLC, Kristian M. Gathright, )
Donovan L. Graham, Wilma C. Graham, )
Martha D. Hartmann-Harlan, Stephanie R. Holt, ) Case No: CV-2009-
B. Stuart Holt, Ill, Kathryn C. Huck, )
Douglas H. Ludeman, Jr., Andrew Malloy, )
Irene Malloy, Robert C. Metcalf, Susan T. Miner, )
Jane C. Nolan, P. Bradley Nott, Jr., Jane T. Nott, )
Piper Investments, LLC, Alexander K. Scoit, )
Karen Scott, The Smith Living Trust by and through its)
Trustees Robert L. Smith and Betsy G. Smith; )
Peter A. Trost, Ill, Doug Wallace, Joanne Wallace, )
John M. Weiser, Teri L. Weiser, Gary N. Witthoefft —)

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and Diane Perry,
Plaintiffs,
VS.
Harbert DP LLC, Harbert Power, LLC, Dixie
Pellets, LLC, Harbert Management, LLC,
Harbert Power Fund Ill, LLC, Wayne Nelson,
Pat Molony, and Russell Martin, fictitious defendants
A-Z, as those persons and/or entities who
participated in the wrongdoing described herein.

Defendants.

COMPLAINT

Comes now the Plaintiffs and state and show as follows in support of their

complaint against the Defendants:

Case 09-01136 Doci-1 Filed 12/11/09 Entered 12/11/09 15:51:09 Desc Exhibit A
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PARTIES

1. Plaintiff, Charles Bates, is an adult resident citizen of Alabama who is a minority
member in Dixie Pellets, LLC business which operates a wood pellet plant in Selma,
Dallas County, Alabama managed by Harbert DP, LLC and/or in concert with Harbert
Power, LLC, Harbert Power Fund Ill, LLC, Harbert Management Corporation, and/or
other fictitious defendants A-Z described further herein.

2. Plaintiffs, Joyce Duck, Belinda B. Early, Kenneth G. Elzinga, Fernand Baruch,
Jr., IRA by and through its custodian, Entrust MidAtlantic, LLC; Brigitte Schmidt-Ullrich,
IRS by and through its custodian, Entrust MidAtlantic, LLC; Jean Freitag, The C.
Garland Hagen Rev Trust by and through its Trustee C. Garland Hagen; GTC Partners,
LLC, Kristian M. Gathright, Donovan L. Graham, Wilma C. Graham, Martha D.
Hartmann-Harlan, Stephanie R. Holt, B. Stuart Holt, Ill, Kathryn C. Huck, Douglas H.
Ludeman, Jr., Andrew Malloy, Irene Malloy, Robert C. Metcalf, Susan T. Miner, Jane C.
Nolan, P. Bradley Nott, Jr., Jane T. Nott, Piper Investments, LLC, Alexander K. Scott,
Karen Scott, The Smith Living Trust by and through its Trustees Robert L. Smith and
Betsy G. Smith; Robert L. Smith, Trustee, Betsy G. Smith, Trustee, Peter A. Trost, Ill,
Doug Wallace, Joanne Wallace, John M. Weiser and Teri L. Weiser, Gary N. Witthoefft
and Diane Perry, are all minority members in Dixie Pellets, LLC, a wood pellet project in
Selma, Dallas County, Alabama, managed by Harbert DP, LLC and/or in concert with
Harbert Power, LLC, Harbert Power Fund Ill, LLC, Harbert Management Corporation,
and/or other fictitious defendants A-Z described further herein.

3. Individual Defendants, Wayne Nelson, Pat Molony, and Russell Martin are

individuals over the age of 18 residing in Alabama whose actions and inactions

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occurred based on the project and improvements to the property in Selma, Dallas
County, Alabama where the wood pellet project is located.

4. Defendant, Dixie Pellets, LLC is an Alabama limited liability company that
operates a wood pellet project in Selma, Dallas County, AL. Of Dixie Pellets, LLC,
several members are known to be Alabama residents: New Gas Concepts, Inc., an
Alabama corporation, and Dr. Charles Bates are both Alabama residents for jurisdiction
and venue purposes of Dixie Pellets, LLC.

5. Defendant, Harbert DP, LLC is a foreign limited liability company who is the sole
controlling and managing member of Dixie Pellets, LLC, a wood pellet plant in Selma,
Dallas County, Alabama.

6. Harbert Power, LLC, is a foreign limited liability company who is the controlling,
managing Harbert Power, LLC is a foreign limited liability company who manages,
oversees and operates its subsidiaries and/or investment portfolios, including Harbert
Power Fund Ill, LLC. Harbert Power, LLC has a principal place of business in Alabama
and the actions and inactions making the basis of said suit occurred, in material part, in
Selma, Dallas County, Alabama.

7. Harbert Power Fund III, LLC is a foreign limited liability company who is believed
to be the sole investor in Harbert DP, LLC and the holder of subordinated debt with an
excessive interest rate and above market terms. Harbert Power, LLC has a principal
place of business in Alabama and the actions and inactions making the basis of said
suit occurred, in material part, in Selma, Dallas County, Alabama.

8. Harbert Management Corporation is an Alabama corporation who manages,

oversees, and operates its subsidiaries including Harbert Power, LLC, Harbert DP, LLC,

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Harbert Power Fund Ill, LLC, and the Dixie Pellets, LLC wood pellet project in Selma,
Dallas County, Alabama.

9. Fictitious Defendants A-Z are defendant individuals and/or entities that
participated and/or contributed to the wrongful actions of the Defendants, including
negligent, wanton or intentional wrongful conduct of the Defendants, and wrongful
conduct which damaged Plaintiffs, including those who are responsible for, participated
in, or contributed to the training, overseeing, supervision, hiring, and/or management of
the wood pellet project and the investment therein, misrepresentations, suppressions,
wrongful business decisions or a conspiracy to commit wrongdoing related to the wood
pellet project in Selma, Alabama and investment therein.

JURISDICTION AND VENUE

10. Jurisdiction and venue is proper over the Plaintiffs because Plaintiff, Charles
Bates, is a resident citizen of Alabama and a minority member in Dixie Pellets, LLC, a
wood pellet plant located in Dallas County, Alabama.

11.All Plaintiffs voluntarily submit to the jurisdiction and venue of this court.

12. Jurisdiction and venue are proper over the corporate Defendants because
Alabama residency exists for Dixie Pellets, LLC and believed to exist for the other
Defendants as they have principal places of business in Alabama and have previously
submitted to state court jurisdiction. Furthermore, all Defendants are involved in the
management, operations and/or investment of Dixie Pellets, LLC and its wood pellet
project in Selma, Dallas County, Alabama, where the acts, omissions and property are

located related to this suit.

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13. Jurisdiction and venue are proper over the individual defendants because they
reside in the State of Alabama and their actions and inactions making the basis of this
suit occurred in material part in the wood pellet project in Selma, Dallas County,
Alabama

14. This court's exercise of jurisdiction does not offend the notions of fair play and
substantial justice.

15. Jurisdiction and venue is proper over all defendants, if it is proper for one. Ex
parte Silver Chiropractic Group, Inc., 975 So.2d 922 (Ala. 2008). Jurisdiction and venue
is proper in this matter because the property at issue is located in Selma, Dallas
County, Alabama; and the acts and omissions arose in Selma, Dallas County, Alabama.

FACTS

16.On or around December, 2006 through February, 2007, Plaintiffs invested
approximately $3,500,000.00 in Dixie Pellets, LLC. Dixie Pellets, LLC is a wood pellet
project in Selma, Alabama.

17.After the Plaintiffs’ investments in Dixie Pellets, LLC, Dixie Pellets, LLC continued
to raise capital equity and work to issue debt in the form of bonds through Sterne Agee
Group, Inc. (hereinafter referred to as “Sterne Agee”) to proceed with the wood pellet
project in Selma, Alabama.

18.Sterne Agee entered into a contract for financial advisory services for Dixie
Pellets. As a result of said contract, the following material terms, including but not
limited to, were disclosed to Plaintiffs by Defendant Dixie Pellets, LLC:

a. Bond issuance would occur in summer, 2007.

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b. Sterne Agee’s bond finance deal required approximately $7,000,000.00 of
additional capital equity.
c. Harbert Defendants represented that they were required to invest a minimum
of $10,000,000.00 capital equity to do the deal.
d. Sterne Agee had the bonds buyers lined up to purchase immediately upon
issuance.
19.Defendant, Dixie Pellets, LLC, sought capital equity of approximately
$7 ,000,000.00 from the Harbert Defendants as a result of additional capital equity
needs for the Sterne Agee bond financing for the Selma project. As a result of the
financing needs of Dixie Pellets, LLC, Defendants inspected the Selma project and did
due diligence in Selma related to the capital equity needed pursuant to the Sterne Agee
bond deal and to continue property improvements for the Selma project.
20.On or about May 14, 2007, the Harbert Defendants made material
misrepresentations and/or suppression of facts, including but not limited to the following:
a. Harbert Defendants committed that they would be satisfied putting in
$10,000,000.00 in capital to Dixie Pellets.
b. Harbert Defendants would be receiving shares for the capital contribution
of $10,000,000 at $1.00 per share.
c. Harbert Defendants would work diligently with Sterne Agee.
21.As a proximate result and in reasonable reliance thereon, Plaintiffs executed a
proxy and voted in favor of Defendant, Harbert DP, LLC’s admission as majority

member of Dixie Pellets, LLC.

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22.At that time and immediately thereafter, wrongfully Defendant failed to disclose
and suppressed material information from Plaintiffs, including but not limited to:

a. Harbert Defendants had already been seriously discussing and engaging
Calyon as financial advisor to Dixie Pellets and had been working on a
different bond deal with different terms.

b. The terms being discussed and considered with Calyon required substantially
more capital equity than the terms of debt structured by Sterne Agee.

c. Defendant planned on firing Sterne Agee and hiring their own investment
bank, Calyon, in order to take control of the deal on their terms and enhance
their position and investment to the detriment of Plaintiffs.

d. Defendants conduct and pattern of conduct was to increase, at whatever cost,
the return to its investors, Harbert Power Fund III, LLC, to the detriment
Plaintiffs.

e. Defendants intended on putting more than $10,000,000 into Dixie Pellets
Selma project so to increase the return it and its investors would receive.

f. Defendants acted to bind Dixie Pellets to subordinated debt at excessive
interest rate of 20 percent with terms that would capitalize such excessive
interest so to divest Plaintiffs interest in Dixie Pellets in favor of Harbert
Defendants who ended up with both equity and convertible debt in the Selma

project.

23. After Plaintiffs reasonably relied on Harbert Defendants’ material
misrepresentations and/or suppressions of material fact, Defendants immediately and to

the detriment of the Plaintiffs acted wrongfully, including but not limited to the following:

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a. Intentionally sabotaged the deal with Sterne Agee.

b. Immediately put in place Harbert Defendants own financial advisor,
Calyon, and continued discussions about a bond deal with new and
different terms unfavorable to Plaintiffs.

c. Paid hundreds of thousands of dollars to Sterne Agee.

d. Ina deli in Birmingham in a face to face meeting in late May or June,
2007, Wayne Nelson, Pat Molony, and the Harbert Defendants told
Plaintiffs that “they did not like to work with minority shareholders, they
liked to be in control of their projects, and when they did have minority
shareholders, it usually did not work out well.”

e. Due to the Defendants’ wrongful conduct, including sabotaging the Sterne
Agee bond deal and the delay as a result, the consequences of the
Defendants’ actions resulted in the bond deal failing.

f. After firing Sterne Agee and hiring Calyon, Defendants wrongfully and
unnecessarily increased expense and time by starting the whole due
diligence process over from the beginning thereby harming the plaintiffs.

g. Thereafter, Harbert Defendants, infused additional capital to Dixie Pellets
in the form of subordinated convertible debt with an excessive interest rate
of 20 percent and extremely unfavorable terms.

h. Continued to infuse capital of its own at excessive interest rates and unfair
terms so as to be detrimental to Plaintiffs and increase the Harbert

Defendants’ return on investment in a manner unfavorable to the Plaintiffs.

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i. Executed intentionally a business plan which only benefited it and its

investors to the detriment of Plaintiffs

24. The wrongful, intentional, wanton conduct and pattern of conduct is shown in a
spreadsheet provided to Plaintiffs in March, 2009 wherein the Defendants intentionally
show that it will have Dixie Pellets, LLC pay off the low rate outside loan, at 6.5 percent
rate, within seven years while continuing to maintain the excessive insider loan at a 20
percent interest rate because Harbert Defendants’ investors will be treated more
favorably than the Plaintiffs. Plaintiffs have been and will continue to be damaged as a
proximate result. Dixie Pellets, LLC is a good project and business with a positive cash
flow. Defendants intentionally take the positive cash flow and expend it in a fashion to
only benefit it and its investors; to the detriment of Plaintiffs.

25.As a proximate result of the Defendants intentional wrongful or wanton actions,
Harbert Defendants obtain all equity with any positive value and Dixie Pellets, LLC
continues to run a successful Selma project to the detriment of the Plaintiffs.

26. The wrongful actions or inactions of the Defendants, acting in conspiracy with
one another, have proximately damaged the Plaintiffs.

27.As a result of the Plaintiffs reasonably relying on misrepresentations or
suppressions of material facts by Defendants, Plaintiffs have been damaged.

COUNT ONE
FRAUD
MISREPRESENTATION AND SUPPRESSION
28. Plaintiffs reassert and reallege all each and every allegation made in the

preceding paragraphs as if fully set forth herein.

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29. Defendants made misrepresentations of material facts upon which the plaintiffs
reasonably relied to their detriment.

30. Defendants made material suppressions of material facts upon which the
plaintiffs reasonably relied to their detriment.

31.Defendants had a duty to Plaintiffs to disclose material facts.

32.As a proximate result of the Defendants intentional, wanton, or reckless
misrepresentations and suppressions of material facts, Plaintiffs have been damaged.

Wherefore, premises considered, Plaintiffs hereby prays for compensatory and
punitive damages, attorneys’ fees, costs, expenses, and any other relief to which the
trier of fact may determine they are entitled.

COUNT TWO
BREACH OF FIDUCIARY DUTY

33. Plaintiffs reassert and reallege all each and every allegation made in the
preceding paragraphs as if fully set forth herein.

34. Defendants had a duty to Plaintiffs.

35.Defendants intentionally, wantonly, negligently breached their duty to Plaintiffs.

36.As a proximate result of the Defendants wrongful breaches, Plaintiffs have been
damaged.

Wherefore, premises considered, Plaintiffs hereby pray for compensatory and
punitive damages, attorneys’ fees, costs, expenses, and any other relief to which the

trier of fact may determine they are entitled.

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